e; 4:16-cr-00258-HEA Doc. #: 142-2 Filed: 10/03/18 Page: 1 of 3 PagelD #: 1131 |
Inmate History Report 9 g

Ste Genevieve County
Report Generated 10/2/2018 10:09:29 AM
70003 ALDEN WILSON DICKERMAN
3/26/2018 12:00:00 AM - 10/1/2018 11:59:59 PM

Transaction ID

4058423266

4058423566

4059290966

4060179366

4060181866

4060903066

4062479566

4062479666

4064482266

4069019966

4069527766

Type

InmateCanteen.com Credit Card
Transaction

Deposit to Inmate Account from
InmateCanteen.com

InmateCanteen.com Message Fee

Canteen Order Adjustment - Item
Added to Order

Qty 1 of item 195008 (Deodorant,
Speed Stick A/P 1.8 oz) at $5.28
each - total $5.28

Sales Tax: $0.49

Canteen Order Adjustment - Item
Added to Order

Qty 1 of item TKC520W3XL (Boxer
Shorts 3XL (sz 50-52)) added at
$5.74 each - total $5.74

Qty 4 of item 82467 (Acetaminophen
(non-aspirin)) added at $0.34 each -
total $1.36

$0.65 in additional sales tax
charged.

InmateCanteen.com Message Fee

Canteen Order Adjustment - Item
Removed from Order

Qty 4 of item 82467 (Acetaminophen
(non-aspirin)) removed at $0.34
each - total $1.36.

$0.12 in sales tax refunded.

Canteen Order Adjustment - Item
Added to Order

Qty 6 of item 82467 (Acetaminophen
(non-aspirin)) added at $0.34 each -
total $2.04

Qty 2 of item 249593-SAM (Ramen
Beef) added at $0.99 each - total
$1.98

Qty 1 of item 901 (Bowl and Lid)
added at $2.07 each - total $2.07

$0.50 in additional sales tax
charged.

Canteen Order Adjustment - Item
Added to Order

Qty 1 of item SSB4 (Shampoo/Shave
Gel/Body Wash 4o0z) added at $2.95
each - total $2.95

$0.27 in additional sales tax
charged.

Canteen Order Adjustment - Item
Added to Order

Qty 1 of item 249586-SAM (Ramen
Chicken) at $0.99 each - total $0.99
Qty 2 of item 249628-SAM (Ramen
Chili) at $0.99 each - total $1.98

Qty 1 of item 12591 (Cheetos Flamin
Hots 160z) at $5.92 each - total
$5.92

Sales Tax: $0.19

Site Charge Withdrawal :: phone
card :: 20.00 phone

Date

9/21/2018
12:50:23
PM

9/21/2018
12:50:26
PM

9/21/2018
5:37:26 PM
9/21/2018
11:13:47 PM

9/21/2018
11:15:50 PM

9/22/2018
12:53:27
PM

9/22/2018
9:46:07 PM

9/22/2018
9:46:08 PM

9/23/2018
7:04:05 PM

9/25/2018
11:30:23
AM

9/25/2018
2:33:02 PM

User

inmatecant
een

inmatecant
een

kiosk

kiosk

kiosk

kiosk

kiosk

kiosk

kiosk

kiosk

thyington

Amount

150.00

150.00

“0.25

“5:77

“7.75

-0.25

1.48

-6.59

8.22

-9.08

-20.00

Trust
Amount

0,00

150,00

-0,25

“5:77

“7:75

-0,.25

1.48

-6.59

3.22

-9.08

-20,00

Trust
Balance

0,00

150.00

149.75

143.98

136.23

135.98

137.46

130.87

127.65

118.57

98.57

Lien
Amount

0,00

0,00

0.00

0.00

0,00

0.00

0,00

0.00

0.00

0.00

0.00

Lien
Balance

0,00

0,00

0,00

0.00

0.00

0,00

0,00

0.00

0.00

0,00

0.00

Balance

0,00

150.00

149.75

143.98

136.23

135.98

137.46

130.87

127.65

118.57

98.57
40722358606
4072245366

4074518266

4075604666

4077381966

4077675966

4077676066

4077676166

4078740766

4078740866

4081247866

4081247966

nmateCanteen.com Message Fe

InmateCanteen.com Message Fee

InmateCanteen.com Message Fee

Canteen Order Adjustment - Item
Added to Order

Qty 1 of item ClI-22 (Cup, 22 oz
plastic) added at $1.39 each - total
$1.39

Qty 1 of item 6120 (Her's
Horseradish Cheddar Chips) added
at $1.45 each - total $1.45

Qty 1 of item 30563 (TGIF Potato
Cheddar Bacon (K*)) added at $1.45
each - total $1.45

Qty 2 of item 71620-m (Obriens Beef
and Cheddar) added at $1.45 each -
total $2.90

$o.49 in additional sales tax
charged.

Canteen Order Adjustment - Item
Removed from Order

Qty 1 of item TKC520W3XL (Boxer
Shorts 3XL (sz 50-52)) removed at
$5.74 each - total $5.74.

$0.53 in sales tax refunded.

Canteen Order Adjustment - Item
Removed from Order

Qty 1 of item 6120 (Herr's
Horseradish Cheddar Chips)
removed at $1.45 each - total $1.45.

$0.09 in sales tax refunded.

Canteen Order Adjustment - Item
Removed from Order

Qty 1 of item 30563 (TGIF Potato
Cheddar Bacon (K*)) removed at
$1.45 each - total $1.45.

$0.09 in sales tax refunded.

Canteen Order Adjustment - Item
Added to Order

Qty 3 of item 6120 (Herr's
Horseradish Cheddar Chips) added
at $1.45 each - total $4.35

Qty 2 of item 30563 (TGIF Potato
Cheddar Bacon (K*)) added at $1.45
each - total $2.90

$0.45 in additional sales tax
charged.

Canteen Order Adjustment - Item
Removed from Order

Qty 2 of item 71620-m (Obriens Beef
and Cheddar) removed at $1.45 each
~ total $2.90.

$0.18 in sales tax refunded.

Canteen Order Adjustment - Item
Added to Order

Qty 1 of item 84061 (Hearty Beet
Summer Sausage 50z) added at
$4.07 each - total $4.07

$0.25 in additional sales tax
charged.

Canteen Order Adjustment - Item
Removed from Order

Qty 3 of item 6120 (Herr's
Horseradish Cheddar — Chips)
removed at $1.45 each - total $4.35.

$0.27 in sales tax refunded.

Canteen Order Adjustment - Item
Added to Order
Qty 4 of item 6120 (Herr's

2:59:29 PM

9/26/2018 — kiosk

3:02:47 PM

9/27/2018
12:47:07
PM

kiosk

9/27/2018 kiosk

7:15:34 PM

9/28/2018
1:50:49 PM

9/28/2018
3:27:51 PM

9/28/2018
3:27:51 PM

9/28/2018
3:27:51 PM

9/28/2018

9:08:20 PM

9/28/2018

9:08:20 PM

9/29/2018
10:28:21
PM

9/29/2018
10:28:22
PM

rbyington

kiosk

kiosk

kiosk

kiosk

kiosk

kiosk

kiosk

“0.25

-0.25

-7.68

6.27

1.54

1.54

-7.70

3.08

-4.92

4.62

“21,25

Case: 4:16-cr-00?58:HEA..Dog, #:.442:2 File, 0/03/18

-0.25

-0.25

-7.68

6.27

1.54

1.54

-7-70

3.08

-4.32

4.62

721.25

Pages. of 3 PagelD, #; 113256 50

98.07

97.82

90.14

96.41

97-95

99.49

91.79

94.87

90.55

95.17

73-92

0.00

0,00

0.00

0.00

0,00

0.00

0.00

0.00

0.00

0.00

0.00

0.00

0.00

0,00

0.00

0,00

0.00

0,00

0.00

0.00

0,00

0,00

98.07

97.82

90.14

96.41

91.79

91.79

91.79

90.55

90.55

95.17

73-92

Case: 4:1,.0-G09eR8-HEAsddepc. # 142-2 Filed: 10/03/18 Page: 3 of 3 PagelD #: 1133

‘orseradis

at $1.45 each - total $5.80

Qty 1 of item 249828 (Ramen

Sriracha Chicken) added at $0.99

each - total $0.99

Qty 1 of item 861430-SAM (Ramen

Picante Beef) added at $0.99 each -

total $0.99

Qty 1 of item SB1 (Clear Hinged Soap

Dish) added at $0.90 each - total
$0.90

Qty 1 of item 325385 (Soap Bar
Lever 2000) added at $2.95 each -
total $2.95

Qty 1 of item 665656 (Tums (K*))
added at $1.56 each - total $1.56

Qty 2 of item 31732 (Pop Tart
Frosted Strawberry) added at $1.85
each - total $3.70

Qty 2 of item 91001 (Jalapeno
Cheese Squeeze 10z) added at $0.90
each - total $1.80

Qty 1 of item 1057 (Tito's Sliced |
Jalapeno) added at $1,16 each - total |
$1.16 \

$1.40 in additional sales tax charged.

4084783966 InmateCanteen.com Message Fee 10/1/2018 kiosk -0.25 -0,.25 73.67 0.00 0.00 73.67
11:35:21 AM
